                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Harrisonburg Division

 MATEEN HALEEM,                                 )
     Plaintiff,                                 )       Civil Action No. 5:17-cv-00003
                                                )
 v.                                             )       MEMORANDUM OPINION & ORDER
                                                )
 DR. MOISES QUINONES et al.,                    )       By:    Joel C. Hoppe
      Defendants.                               )              United States Magistrate Judge

           Plaintiff Mateen Haleem filed this action under 42 U.S.C. § 1983 alleging that three

 remaining Defendants violated Haleem’s constitutional rights while he was detained at the

 Middle River Regional Jail (“MRRJ”) from August through September 2015, and again from

 August through November 2016. See generally Second Am. Compl. 1–10, ECF No. 49. More

 specifically, Haleem alleges that: (1) Defendant Dr. Moises Quinones, a physician under contract

 to provide medical care at MRRJ, “deliberately failed to provide” Haleem with his prescription

 pain and antiepileptic medications for six weeks in 2015, see id. ¶¶ 13–14; (2) Defendants

 Carlston Vandevander and David Gregory, both MRRJ correctional officers at all times relevant

 to the action, repeatedly doused Haleem’s eyes with pepper spray, “used [his] head as a battering

 ram,” and broke his finger “one day” sometime after August 2016, see id. ¶¶ 6, 27–35; and (3)

 Vandevander’s and Gregory’s conduct on that day was in retaliation for Haleem filing

 “numerous grievances about cold and rotten food” and “the failure to receive his medication”

 while he was detained at MRRJ, see id. ¶¶ 27–28, 40–41. Haleem seeks compensatory and

 punitive damages against each Defendant in his individual capacity. See id. at 1, 23–24.

 Discovery is ongoing and a jury trial is set to begin on April 1, 2019. See Sched. Order 1, ECF

 No. 66.




                                                    1

Case 5:17-cv-00003-MFU-JCH Document 93 Filed 10/03/18 Page 1 of 5 Pageid#: 683
         The matter is now before the Court on Defendant Quinones’s motion seeking to “sever[]

 for purposes of discovery and trial” Haleem’s § 1983 claim against him “from the claims

 asserted against” Defendants Vandevander and Gregory, arguing that he was misjoined as a

 defendant. Mot. to Sever, ECF No. 70; see Br. in Supp. 4–5 (citing Fed. R. Civ. P. 20, 21), ECF

 No. 71. Haleem “does not contest severance,” although he “believes that judicial economy may

 be served by trying all [remaining] Defendants in one case.” See Pl.’s Resp. Br. 1 n.1, ECF No.

 87. Defendants Vandevander and Gregory also do not object to severance. ECF Nos. 82, 86. The

 nondispositive pretrial motion is before me under 28 U.S.C. § 636(b)(1)(A). Sched. Order 2.

         “A district court [has] broad discretion in ruling on a requested severance under Rule 21”

 of the Federal Rules of Civil Procedure. Hanna v. Gravett, 262 F. Supp. 2d 643, 647 (E.D. Va.

 2003) (citing Saval v. BL Ltd., 710 F.2d 1027, 1031–32 (4th Cir. 1983)). While Rule 21 does not

 set out a standard “for determining misjoinder, courts have uniformly held that parties are

 misjoined” when they do not meet the prerequisites for permissive joinder under Rule 20(a). Id.

 (collecting cases). As relevant here, Rule 20(a) provides that persons

         may be joined in one action as defendants if: (A) any right to relief is asserted
         against them jointly, severally, or in the alternative with respect to or arising out
         of the same transaction, occurrence, or series of transactions or occurrences; and
         (B) any question of law or fact common to all defendants will arise in the action.

 Fed. R. Civ. P. 20(a)(2)(A)–(B) (2017). “The requirements for permissive joinder are liberally

 construed in the interest of convenience and judicial economy in a manner that will secure the

 just, speedy, and inexpensive determination of the action.” Dillon v. BMO Harris Bank, N.A., 16

 F. Supp. 3d 605, 615 (M.D.N.C. 2014) (quotation marks omitted). “The ‘transaction or

 occurrence’ test” in particular “is designed to permit all reasonably related claims for relief by or

 against different parties to be tried in a single proceeding[,] . . . . thereby preventing multiple

 lawsuits.” Advamtel, LLC v. AT&T Corp., 105 F. Supp. 2d 507, 514 (E.D. Va. 2000) (citing


                                                    2

Case 5:17-cv-00003-MFU-JCH Document 93 Filed 10/03/18 Page 2 of 5 Pageid#: 684
 Saval, 710 F.2d at 1031). This determination is made on a case-by-case basis, id. at 513, and

 typically permits joinder so long as all the claims against different parties arise out of events that

 “have a ‘logical relation to one another,’” Tinsley v. Streich, 143 F. Supp. 3d 450, 459 (W.D. Va.

 2015) (quoting Stephens v. Kaiser Found. Health Plan of the Mid-Atl. States, Inc., 807 F. Supp.

 2d 375, 379 (D. Md. 2011)).

        Quinones argues that Haleem’s § 1983 deliberate-indifference claim against the doctor

 “involve[s] discreet questions of law and fact wholly distinct from the factual and legal issues”

 underlying Haleem’s § 1983 excessive-force and retaliation claims against the two jail officers.

 Br. in Supp. 4–5. This position is persuasive, especially considering that the Second Amended

 Complaint makes very clear that Dr. Quinones was under contract as an MRRJ physician only

 “[d]uring the 2015 time period” and therefore he could not have been personally involved in

 anything that happened to Haleem during his “second stint at MRRJ from August 2016 through

 November 2016,” including the alleged officers-on-detainee assault that occurred sometime

 during that three-month period. Second Am. Compl. ¶¶ 4, 13, 15, 18–19, 21; see Order, ECF No.

 39. Indeed, the only allegations in any way linking these three Defendants and the events

 underlying Haleem’s two “stints” at MRRJ are that: (1) Defendants Vandevander and Gregory

 were correctional officers at this jail “at all times relevant” to Haleem’s claims; (2) in August

 2015, Haleem filed a grievance informing MRRJ medical staff that he had not received his

 medications; (3) upon returning to MRRJ in August 2016, Haleem “began to submit numerous

 grievances about cold and rotten food, to the point that Defendants Vandevander and Gregory . .

 . targeted him as a ‘trouble maker’” and told Haleem that “‘he would get it’” if he “kept

 submitting grievances,” which Haleem did anyway; and (4) the officers later beat Haleem in

 retaliation for filing “grievances for what he perceived [to be] unconstitutional conditions of



                                                   3

Case 5:17-cv-00003-MFU-JCH Document 93 Filed 10/03/18 Page 3 of 5 Pageid#: 685
 confinement,” including jail officials’ failure to administer his prescription medication. See

 Second Am. Compl. ¶¶ A, 6, 18, 21, 27, 41. The mere fact that Vandevander and Gregory

 happened to be employed as officers at MRRJ “[d]uring the 2015 time period,” see id. ¶¶ 4, 6, is

 not enough to establish a logical connection between Dr. Quinones’s alleged denial of medical

 care during that time and the officers’ alleged retaliatory use of excessive force one year later—

 especially given the months-long gap between Haleem’s two terms of detention. See Sanders v.

 Rose, 576 F. App’x 91, 95 (3d Cir. 2014) (concluding that a former pretrial detainee’s allegations

 that he signed his name as “‘Mickey Mouse’ to show his displeasure at having been denied

 library access” by a jail counselor, that the jail counselor “expressed anger about someone

 ‘disrespecting her’ by signing ‘Mickey Mouse,’” and that the detainee was “brutally beaten” by

 several jail officers who “sang the ‘Mickey Mouse’ song as they dragged him to another cell,”

 and that these events all occurred on a single day, satisfied Rule 20(a)(2)’s permissive joinder

 standard).

        Quinones also argues that severance is warranted because “the witness testimony and any

 other evidence [that Haleem] may rely upon to support the excessive force and retaliation claims

 necessarily would be different from the evidence that he will need to support the deliberate

 indifference claims asserted” against the jail physician. Br. in Supp. 5. This concern is legitimate,

 and Haleem does not contest it. See Pl.’s Resp. Br. 1 n.1. Thus, separate trials are necessary.

 Nonetheless, given the nature of Haleem’s claims and allegations against current or former

 officials at one jail, keeping the matters together for pretrial purposes under one scheduling

 order, ECF Nos. 66, 74; see also ECF No. 68 (parties’ Rule 26(f) Report), better serves the

 “interest of convenience and judicial economy in a manner that will secure the just, speedy, and




                                                  4

Case 5:17-cv-00003-MFU-JCH Document 93 Filed 10/03/18 Page 4 of 5 Pageid#: 686
 inexpensive determination of the action,” Dillon, 16 F. Supp. 3d at 615–16. See Fed. R. Civ. P.

 42(b).

          Accordingly, Defendant Quinones’s motion to sever, ECF No. 70, is hereby GRANTED

 IN PART. Plaintiff’s § 1983 claims against all remaining Defendants shall be joined in this

 action through the close of discovery and the resolution of any dispositive motions. See Sched.

 Order 1. If necessary, separate trials will be scheduled during the week of April 1, 2019, for the

 claim against Defendant Quinones and the claim or claims against Defendants Vandevander and

 Gregory.

          It is so ORDERED.

                                                      ENTER: October 3, 2018



                                                      Joel C. Hoppe
                                                      U.S. Magistrate Judge




                                                  5

Case 5:17-cv-00003-MFU-JCH Document 93 Filed 10/03/18 Page 5 of 5 Pageid#: 687
